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                 UNITED STATES BANKRUPTCY COURT
                      SOUTHERN DISTRICT OF CALIFORNIA
                 325 West F Street, San Diego, California 92101-6991

         In Re
        SOTERA WIRELESS, INC.,                                                      BANKRUPTCY NO. 16-05968-LT11 (Jointly Administered)
                                                                  Debtor.

        SOTERA WIRELESS, INC.                                                                          Chapter 11
                                 Case No. 16-05968-11
          v.
        SOTERA RESEARCH, INC.
                                 Case No. 16-05969-11

                                                             PROOF OF SERVICE

                I, Vicki L. Goldsmith                             am a resident of the State of California, over the age of 18 years,
          and not a party to this action.
                    On May 19, 2017                                         , I served the following documents:

        SUPPLEMENT TO DEBTORS’ THIRD AMENDED CHAPTER 11 PLAN OF REORGANIZATION


          1.         To Be Served by the Court via Notice of Electronic Filing (“NEF”):
                 Under controlling Local Bankruptcy Rules(s) (“LBR”), the documents) listed above will be served by the
          court via NEF and hyperlink to the document. On May 19, 2017                  , I checked the CM/ECF docket for
          this bankruptcy case or adversary proceeding and determined that the following person(s) are on the Electronic Mail
          Notice List to receive NEF transmission at the e-mail address(es) indicated and/or as checked below:

        SEE ATTACHED LIST


                             Chapter 7 Trustee:

                              For Chpt. 7, 11, & 12 cases:        For ODD numbered Chapter 13 cases:        For EVEN numbered Chapter 13 cases:
                              UNITED STATES TRUSTEE               THOMAS H. BILLINGSLEA, JR., TRUSTEE        DAVID L. SKELTON, TRUSTEE
                              ustp.region15@usdoj.gov             Billingslea@thb.coxatwork.com              admin@ch13.sdcoxmail.com
                                                                                                             dskelton13@ecf.epiqsystems.com




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          2.       Served by United States Mail or Overnight Mail:

                 On                               ,I served the following person(s) and/or entity(ies) at the last known
          address(es) in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
          envelope in the United States Mail via 1) first class, postage prepaid, 2) certified mail with receipt number or 3)
          overnight mail service, addressed as follows:




          3.       Served by Personal Delivery, Facsimile Transmission or Electronic Mail:

                 Under Fed.R.Civ.P.5 and controlling LBR, on                                 , I served the following person(s)
          and/or entity(ies) by personal delivery, or (for those who consented in writing to such service method), by facsimile
          transmission and/or electronic mail as follows:




                   I declare under penalty of perjury under the laws of the United States of America that the statements made
                   in this proof of service are true and correct.




                   Executed on May 19, 2017                          /s/ Vicki L. Goldsmith
                                (Date)                                (Typed Name and Signature)

                                                                     3579 Valley Centre Drive, Suite 300
                                                                      (Address)

                                                                     San Diego, CA 92130
                                                                      (City, State, ZIP Code)




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Mailing Information for Case 16-05968-LT11
Electronic Mail Notice List

The following is the list of parties who are currently on the list to receive email notice/service
for this case.

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